 Case: 6:19-cr-00065-REW-HAI           Doc #: 256 Filed: 08/31/20           Page: 1 of 2 - Page
                                           ID#: 757



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:19-CR-65-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 ASHLEY LYNN LAY,                                    )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 243 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Lay’s guilty plea and adjudge her guilty of

Count 1 of the Second Superseding Indictment (DE 72). See DE 244 (Recommendation); see also

DE 235-1 (Plea Agreement). Judge Ingram expressly informed Defendant of her right to object to

the recommendation and to secure de novo review from the undersigned. See DE 244 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
    Case: 6:19-cr-00065-REW-HAI        Doc #: 256 Filed: 08/31/20           Page: 2 of 2 - Page
                                           ID#: 758



        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 244, ACCEPTS Lay’s guilty plea, and ADJUDGES her

           guilty of Count 1 of the Second Superseding Indictment (DE 72);

        2. Further, per Judge Ingram’s recommendation (DE 244 at 2 ¶ 4) Lay disclaimed any

           interest in the property identified in the operative indictment (DE 72 at 5) but conceded

           forfeitability pursuant to Defendant’s agreement (DE 235-1 ¶ 9) as to nexus. The Court

           finds the property forfeitable but notes that Lay disclaims. The Court preliminarily

           orders forfeiture subject to proper final findings as warranted by development in the

           record;

        3. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

        4. The Court will issue a separate sentencing order.1

        This the 31st day of August, 2020.




1
 At the hearing, Judge Ingram remanded Lay to custody. See DE 243. The Court, thus, sees no
need to further address detention, at this time.
                                                 2
